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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),              CASE NUMBER: 05-80025
                                                HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                         ORDER

       This matter is before the Court on Timothy O’Reilly’s “Request for Timely

Production of Required 12.2 Reports by the Prosecution.” (Doc. #604). O’Reilly asks

the Court to issue an order directing the Government to produce any expert reports of

rebuttal mental health information.

       Oral argument was heard on August 5, 2010.

       The Court DENIES O’Reilly’s request.

       Because O’Reilly was not examined by the Government, it does not have any

rebuttal expert reports, as contemplated by Fed. R. Crim. P. 12.2. Accordingly, Fed. R.

Crim. P. 16(b)(1)(C)(ii) governs:

       The defendant must, at the government’s request, give to the government
       a written summary of any testimony that the defendant intends to use
       under Rules 702, 703, or 705 of the Federal Rules of Evidence as
       evidence at trial, if[] the defendant has given notice under Rule 12.2(b) of
       an intent to present expert testimony on the defendant’s mental condition.

       This summary must describe the witness’s opinions, the bases and
       reasons for those opinions, and the witness’s qualifications.



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        Dr. Charles Imbus is the only medical doctor that will testify at the penalty phase

regarding O’Reilly’s mental health. At the hearing, O’Reilly provided the Government

Dr. Imbus’ expert report.

        By August 8, 2010, O’Reilly will e-mail the Government a summary of Dr. Imbus’

opinions, the bases and reasons for those opinions, and his qualifications.

        The Government’s expert will review Dr. Imbus’ report. During the week of

August 9, 2010, the Court will determine when the Government must provide defense

counsel its rebuttal expert report.

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 6, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




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